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   Rev: 




                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA
                  vs.                                    Criminal No.              22-412   (TSC)


   SCOTT MILLER
                                                      Category     B




                          Defendant(s)



                                      REASSIGNMENT OF CRIMINAL CASE


   The above-entitled case was reassigned on         12/22/2022    from Judge Jia M. Cobb

to Judge Tanya S. Chutkan                       by direction of the Calendar Committee.



                                      (Randomly Reassigned)


                                                              JUDGE 58'2/3+&2175(5$6
                                                              Chair, Calendar and Case
                                                              Management Committee




   cc:            Judge Jia M. Cobb                           & Courtroom Deputy
                  Judge Tanya S. Chutkan                      & Courtroom Deputy

                  U.S. Attorney’s Office – Judiciary Square Building, Room 5133
                  Statistical Clerk
